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  March 4, 2025




  The Honorable William J. Martini
  United States District Judge
  United States District Court for the District of New Jersey
  Martin Luther King Jr. Federal Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07102

  Re: Request for Emergency Hearing and Expedited Trial – Case No. 2:24-cv-10599,
  Gomez Noriega v. The City of Jersey City


  Honorable Judge Martini,


  I am writing to you as Maicoll Gomez, a National Guardsman and First Responder, and the
  brother of Jonathan Gomez Noriega, the plaintiff in the above-referenced case. I also served as
  the campaign manager for our sister, Valentina Gomez, during her recent political campaign.
  With profound respect for your court and an urgent need for action, I request an emergency
  hearing with all plaintiffs, defendants, and their legal representation present, as well as an
  expedited trial, to address a critical situation threatening irreparable harm to my brother and the
  fairness of this case.


  As a National Guardsman and first responder, I am trained to identify emergencies and act
  decisively to protect those at risk. Today, I see an emergency unfolding in my brother’s case.
  Jonathan’s lawsuit against the City of Jersey City, filed on November 20, 2024, alleges wrongful
  termination, retaliation, discrimination, and defamation following his firing as an aide in August
  2024 by Plaintiff Steven Fulop, who is now running for governor of New Jersey. His termination
  stemmed from public backlash over donations he made to Valentina’s campaign—donations he
  disclosed to his superiors, who raised no objections at the time, and which were followed by
  positive performance evaluations. Valentina is also running for the U.S. Congress in Texas,
  amplifying the stakes of this case.

  Justice delayed is justice denied, and I fear that every moment of inaction brings us closer to
  that outcome. For this reason, I respectfully request both an emergency hearing and an
  expedited trial to resolve these matters expeditiously. In my service as a National Guardsman
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  and first responder, I have seen the dire consequences of delay in a crisis, and I implore the
  court to act fairly and swiftly.




  My connection to this case is both personal and principled. As Jonathan’s brother and
  Valentina’s campaign manager, I have witnessed the events leading to this lawsuit firsthand. As
  a National Guardsman and first responder, I bring a perspective shaped by duty and urgency,
  understanding that justice sometimes demands immediate action to protect the vulnerable.

  I place my faith in your wisdom and authority to uphold the rights of all involved. Please grant
  this request for an emergency hearing and a speedy trial at your earliest opportunity.

  Thank you for your time and consideration—I am hopeful that your swift intervention can ensure
  that justice delayed does not become justice denied for my brother.


  Respectfully yours,

  Maicoll Gomez
  National Guardsman and First Responder
  Brother of Jonathan Gomez Noriega
  Campaign Manager for Valentina Gomez
